Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 1 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 2 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 3 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 4 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 5 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 6 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 7 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 8 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 9 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 10 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 11 of 12
Case 5:21-cr-00057-FJS Document 27 Filed 02/18/21 Page 12 of 12




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